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             1 MICHAEL C. SULLIVAN (SBN 131817)
               msullivan@paulplevin.com
             2 JENNIFER M. FONTAINE (SBN 258901)
               jfontaine@paulplevin.com
             3 PAUL, PLEVIN, SULLIVAN &
               CONNAUGHTON LLP
             4 101 West Broadway, Ninth Floor
               San Diego, California 92101-8285
             5 Telephone: 619-237-5200
               Facsimile: 619-615-0700
             6
               Attorneys for Defendant CARMINA
             7 DURAN
            8 MARK A. RADI (Pro Hac Vice)
              mradi@sokoloffstern.com
            9 Sokoloff Stern LLP
              179 Westbury Avenue
           10 Carle Place, NY 11514
              Telephone: 516-334-4500
           11 Facsimile: 516-334-4501
           12 Janis Law Group
              Dean T. Janis
           13 dean.janis@janislaw.net
              550 West C Street, Suite 1155
           14 San Diego, CA 92101
              Telephone: 619-814-3525
           15 Facsimile: 619-955-5318
           16 Attorneys for Plaintiff MICHAEL
              GURRIERI
           17
                                    UNITED STATES DISTRICT COURT
           18
                                 SOUTHERN DISTRICT OF CALIFORNIA
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           20
                  MICHAEL GURRIERI, an individual,   Case No. 15CV1674 W BLM
           21
                            Plaintiff,               JOINT REQUEST FOR DISMISSAL
           22                                        PURSUANT TO FEDERAL RULE
                       v.                            OF CIVIL PROCEDURE 41
           23
              CARMINA DURAN, an individual,          Judge:        Hon. Thomas J. Whelan
           24 ANDRA DONOVAN, an individual,          Mag. Judge:   Hon. Barbara L. Major
              and CINDY MARTEN, an individual,       Trial Date:   Not set
           25 in their individual capacities,
           26               Defendants.
           27
           28
  PAUL, PLEVIN,
   SULLIVAN &
                                                                       Case No. 15CV1674 W BLM
CONNAUGHTON LLP
          Case 3:15-cv-01674-W-BLM Document 94 Filed 05/08/19 PageID.2349 Page 2 of 3




             1         Pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure, Carmina
             2 Duran (“Defendant”) and Michael Gurrieri (“Plaintiff”) file this Request for
             3 Dismissal of the Complaint with prejudice, with no award of fees or costs to either
             4 party in this action. This request for dismissal is based on the parties settlement of
             5 the related case, Michael Gurrieri. v. San Diego Unified School District, et al., San
             6 Diego Superior Court Case No. 37-2015-00032595-CU-WT-CTL (“Gurrieri”),
             7 which resolved all disputes between the parties. Accordingly, the parties hereby
             8 jointly request that the action be dismissed, in its entirety, with prejudice.
             9 Dated: May 8, 2019                   PAUL, PLEVIN, SULLIVAN &
                                                    CONNAUGHTON LLP
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           11
                                                    By:         /s/ Michael C. Sullivan
           12
                                                          MICHAEL C. SULLIVAN
           13                                             JENNIFER M. FONTAINE
                                                          Attorneys for Defendant CARMINA
           14
                                                          DURAN
           15
                  Dated: May 8, 2019                SOKOLOFF STERN LLP
           16
           17
                                                    By:         /s/ Mark A. Radi
           18
                                                          MARK A. RADI
           19                                             Attorneys for Plaintiff MICHAEL
           20                                             GURRIERI

           21 Dated: May 8, 2019                     JANIS LAW GROUP, APC
           22
           23                                       By:         /s/ Dean T. Janis
           24                                             DEAN T. JANIS
                                                          Attorneys for Plaintiff MICHAEL
           25                                             GURRIERI
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  PAUL, PLEVIN,
   SULLIVAN &                                               2                     Case No. 15CV1674 W BLM
CONNAUGHTON LLP
          Case 3:15-cv-01674-W-BLM Document 94 Filed 05/08/19 PageID.2350 Page 3 of 3




             1                          SIGNATURE CERTIFICATION
             2        Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
             3 Policies and Procedures Manual, I hereby certify that the content of this document is
             4 acceptable to Mark A. Radi and Dean Janis, counsel for Plaintiff Michael Gurrieri
             5 and that I have obtained the authorization of Mr. Radi and Mr. Janis to affix their
             6 electronic signatures to this document.
             7
             8 Dated: May 8, 2019                  PAUL, PLEVIN, SULLIVAN &
                                                   CONNAUGHTON LLP
             9
           10
                                                   By:         /s/ Michael C. Sullivan
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                                                         MICHAEL C. SULLIVAN
           12                                            JENNIFER M. FONTAINE
                                                         Attorneys for Defendant CARMINA
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                                                         DURAN
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  PAUL, PLEVIN,
   SULLIVAN &                                             3                     Case No. 15CV1674 W BLM
CONNAUGHTON LLP
